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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:06CR211
                              )
          v.                  )
                              )
RUBEN OLIVARES and MARIO      )                       ORDER
DELGADO-PAZ, a/k/a Fernando   )
Ramos-Quiles, a/k/a Wetto,    )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on plaintiff’s motion

for dismissal of Count VIII (Filing No. 36).            The Court finds

said motion should be granted.       Accordingly,

           IT IS ORDERED that plaintiff’s motion for dismissal of

Count VIII is granted; Count VIII of the superseding indictment

is dismissed without prejudice as it relates to defendant Mario

Delgado-Paz.

           DATED this 10th day of August, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
